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May 5, 2021


BY ECF

Honorable Brian M. Cogan
United States District Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

Re:       United States v. Urooj Rahman, Case No. 20-CR-203 (BMC)

Dear Judge Cogan:

By this letter, defendant Urooj Rahman respectfully requests the following modifications to the
terms and conditions of her pretrial release:

      •   On Saturday, May 8, 2021, that she be allowed to attend a bridal shower for a close
          personal friend between 1:00 p.m. and 6:00 p.m. in Brooklyn, New York; and

      •   On Saturday, May 15, 2021, that she be allowed to attend the same friend’s wedding
          between 5:30 p.m. and 11:30 p.m. in Brooklyn, New York.

As the Court is aware, Ms. Rahman is currently on home detention. I have discussed the
proposed modifications with Ms. Rahman’s Pretrial Services Officer, Ramel Moore, as well as
with the assigned Assistant United States Attorneys. Pretrial Services consents to Ms.
Rahman’s request to attend the wedding on May 15. However, they object to Ms. Rahman’s
request to attend the bridal shower on May 8. The government defers to Pretrial Services.

Ms. Rahman was arrested in this case on May 30, 2021. She has been on home detention for
almost a year. During that time, Pretrial Services has filed no violation reports documenting
non-compliance with home detention or any of the other terms and conditions of Ms. Rahman’s
pretrial release. Moreover, due to her record of compliance, as well as her ability to secure
stable employment, Pretrial Services has previously agreed to allow Ms. Rahman to be out of
her home for regular, extended periods of time for work and/or religious services, including,
among other times, for multiple hour stretches of time on weekends.

Ms. Rahman understands the seriousness of the charges pending against her in this case. She
is also very appreciative of Pretrial Services’ prior willingness to allow her to leave her home for
work and religious services. In addition, she appreciates Pretrial Services’ consent to her
attending the wedding on May 15. However, Ms. Rahman also respectfully requests permission
from the Court to attend her friend’s bridal shower. Ms. Rahman and her friend have been
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extremely close – almost like family – since they were children. But for Ms. Rahman’s home
confinement, she would likely have been a bridesmaid at her friend’s wedding. Needless to say,
the ability to attend her friend’s bridal shower is extremely important to Ms. Rahman. Moreover,
from a logistical perspective, Ms. Rahman’s request is relatively insignificant. Both the bridal
shower and the wedding are in Brooklyn, within a few miles of Ms. Rahman’s home. She would
not have to stay overnight away from her home or even travel outside Brooklyn to attend the
events. She is also only requesting a five hour window of time to attend the shower.

Thus, for the foregoing reasons, Ms. Rahman respectfully requests that the Court modify the
terms and conditions her pretrial release to allow her to attend both the bridal shower on May 8
and the wedding on May 15.

If Your Honor is in agreement with the proposed modification, we would respectfully request that
you SO ORDER this application.

Thank you for Your Honor’s attention to this matter.

Respectfully,




Peter W. Baldwin


SO ORDERED,



___________________________                                           _________________
Honorable Brian M. Cogan                                              Date
United States District Judge


cc:     All Counsel of Record (via ECF)
        Pretrial Services Officer Ramel Moore




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